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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


  JANE DOES 1-6, et al.,
               Plaintiffs,
        v.
                                                  Civil Action 1:21-cv-00242-JDL
  JANET T. MILLS, Governor of the State of
  Maine, et al.,
               Defendants.




   MEDIA INTERVENORS’ MOTION TO UNSEAL PLAINTIFFS’ IDENTITIES AND
                INCORPORATED MEMORANDUM OF LAW
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         “Lawsuits are public events.” Doe v. Frank, 951 F.2d 320, 324 (11th Cir. 1992). A

 plaintiff “instigates the action, and, except in the most exceptional cases, must be prepared to

 proceed on the public record.” Doe v. Reg’l Sch. Unit No. 21, No. 19-CV-341 (NT), 2020 WL

 2833248, at *1 (D. Me. May 29, 2020) (citations omitted).

         In asking this Court to deviate from the “customary and constitutionally-embedded

 presumption of openness in judicial proceedings,” Doe v. Univ. of Rhode Island, No. 93-CV-

 560B (RWL), 1993 WL 667341, at *2 (D.R.I. Dec. 28, 1993) (citation omitted), and to grant

 them leave to litigate this case pseudonymously, the over two thousand participating plaintiffs

 (collectively, “Plaintiffs”) asserted a fear of “retribution, reprisal, and ostracization” if their

 “sincerely held religious beliefs concerning the COVID-19 vaccine” were known to the public.

 Plaintiffs’ Motion to Proceed Under Pseudonyms (“Pl. Mot.”) at 12, Does 1-6 v. Mills, No. 21-

 CV-242 (JDL) (D. Me. Aug. 31, 2021), ECF No. 21. But Plaintiffs’ generalized assertion is

 insufficient to justify permitting them to litigate this civil lawsuit anonymously. And even

 assuming that a risk of “retribution, reprisal, and ostracization” were sufficient to justify

 permitting a plaintiff to litigate a civil lawsuit anonymously, Plaintiffs have not—and cannot—

 show that such a risk is actually present here. Plaintiffs have offered no evidence to show that

 any one of them faces any actual threat of reprisal if required to proceed under their real names.

 See Femedeer v. Haun, 227 F.3d 1244, 1246 (10th Cir. 2000) (denying party’s request to proceed

 anonymously where the party did not demonstrate “real, imminent personal danger”).

         Moreover, in asserting their purported fear that disclosure of their identities may “subject

 them to reprisal . . . and discourage others from bringing similar claims,” Pl. Mot. at 12,

 Plaintiffs ignore the fact that hundreds of litigants around the country, including in Maine, have

 brought constitutional challenges to federal and state COVID-19 vaccine mandates and safety




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 protocols without the use of pseudonyms. See Section II.A, infra. As detailed herein, Plaintiffs

 fail to identify any “substantial privacy right” that would be implicated by requiring them, too, to

 litigate this case using their real names—let alone one that “outweighs the customary and

 constitutionally-embedded presumption of openness in judicial proceedings.” Univ. of Rhode

 Island, 1993 WL 667341, at *2 (internal quotation marks omitted). For these reasons, MTM

 Acquisition, Inc., d/b/a Portland Press Herald/Maine Sunday Telegram, Kennebec Journal, and

 Morning Sentinel and SJ Acquisition, Inc., d/b/a Sun Journal (collectively, “Media Intervenors”)

 move this Court for an order unsealing Plaintiffs’ names and prohibiting Plaintiffs from

 continuing to proceed under pseudonyms in this matter.

                        RELEVANT PROCEDURAL BACKGROUND

        On August 31, 2021, Plaintiffs filed a motion to proceed under pseudonyms. See Pl. Mot.

 The Court granted the motion, but “reserve[d] the authority to revisit this issue should the case

 proceed past the preliminary-injunction stage,” noting “Defendants’ failure to object to the

 Plaintiffs proceeding pseudonymously,” and “the limited record available at this point.” Does 1-

 6 v. Mills, No. 21-CV-242 (JDL), 2021 WL 4005985, at *2 (D. Me. Sept. 2, 2021).

        On October 13, 2021, this Court denied Plaintiffs’ request for a preliminary injunction.

 Does 1-6 v. Mills, No. 21-CV-242 (JDL), 2021 WL 4783626 (D. Me. Oct. 13, 2021). The First

 Circuit affirmed this Court’s decision on October 19, 2021. Does 1-6 v. Mills, 16 F.4th 20 (1st

 Cir. 2021). On October 29, 2021, the Supreme Court denied Plaintiffs’ application for injunctive

 relief. Does 1-3 v. Mills, 142 S. Ct. 17 (2021). The preliminary injunction stage of this litigation

 has therefore concluded. In accordance with its Order indicating that it could “revisit” the

 Plaintiffs’ use of pseudonyms should the case proceed beyond the preliminary-injunction stage,

 on December 30, 2021, the Court granted Media Intervenors’ motion to intervene for the limited

 purpose of challenging Plaintiffs’ ongoing use of pseudonyms in this matter. Order on Motion to


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 Intervene (“Order”), Does 1-6 v. Mills, No. 21-CV-242 (JDL) (D. Me. Dec. 30, 2021), ECF No.

 95.

                                           ARGUMENT

 I.     Pseudonymous plaintiffs infringe the public’s First Amendment and common law
        rights of access to judicial records and proceedings.

        A.      Public access is a bedrock principle of our judicial system.

        Openness is “one of the essential qualities of a court of justice.” Richmond Newspapers,

 Inc. v. Virginia, 448 U.S. 555, 567 (1980) (quoting Daubney v. Cooper, 109 Eng. Rep. 438, 440

 (K.B. 1829)); Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598–99 (1978). Said to predate

 even the Constitution itself, the right of the public to observe judicial proceedings is deeply

 rooted in American history and is “an indispens[a]ble attribute” of our justice system. See

 Richmond Newspapers, Inc., 448 U.S. at 564–68, 569, 580 n.17 (noting that “historically

 both civil and criminal trials have been presumptively open”). As the Supreme Court has stated:

        A trial is a public event. What transpires in the court room is public property. . . .
        There is no special perquisite of the judiciary which enables it, as distinguished
        from other institutions of democratic government, to suppress, edit, or censor
        events which transpire in proceedings before it.

 Craig v. Harney, 331 U.S. 367, 374 (1947).

        The public’s right of access to judicial records and proceedings is a necessary corollary to

 the right to discuss government affairs, and the Supreme Court has long recognized the essential

 role that members of the press, like Media Intervenors, play in gathering and disseminating

 information about court cases to the public. Richmond Newspapers, Inc., 448 U.S. at 573 (noting

 that the news media act as “surrogates for the public” in reporting on judicial proceedings). By

 reporting on criminal and civil matters of public concern, the news media enable informed public

 discussion of the functioning of the judiciary, and help “the public to participate in and serve as a




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 check upon the judicial process—an essential component in our structure of self-government.”

 Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 606 (1982); see also In re Oliver, 333

 U.S. 257, 271 (1948) (“Without publicity, all other checks are insufficient: in comparison of

 publicity, all other checks are of small account.” (citation omitted)). Openness thus “enhances

 both the basic fairness of [a] trial and the appearance of fairness so essential to public confidence

 in the system.” Press-Enterprise Co. v. Superior Court, 464 U.S. 501, 508 (1984) (“Press-

 Enterprise I”); F.T.C. v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 410 (1st Cir. 1987) (“Public

 access to judicial records and documents allows the citizenry to ‘monitor the functioning of our

 courts, thereby [e]nsuring quality, honesty and respect for our legal system.’” (quoting In re

 Cont’l Ill. Sec. Litig., 732 F.2d 1302, 1308 (7th Cir. 1984))).

        In keeping with these principles, Federal Rule of Civil Procedure 10(a) requires parties to

 a lawsuit to identify themselves in their respective pleadings. Fed. R. Civ. P. 10(a). Though

 seemingly routine, Rule 10(a)’s “clear mandate” serves a critical purpose: it “protects the

 public’s legitimate interest in knowing all of the facts involved, including the identities of the

 parties.” Frank, 951 F.2d at 322–23. Access to party names is thus “more than a customary

 procedural formality; First Amendment guarantees are implicated when a court decides to restrict

 public scrutiny of judicial proceedings.” Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. Unit A Aug.

 1981); see also Does I-XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1067 (9th Cir. 2000)

 (“Plaintiffs’ use of fictitious names runs afoul of the public’s common law right of access to

 judicial proceedings.”); Doe v. Blue Cross & Blue Shield United of Wis., 112 F.3d 869, 872 (7th

 Cir. 1997) (“Identifying the parties to the proceeding is an important dimension of publicness.

 The people have a right to know who is using their courts.”).

        The benefits of an open and transparent court system—guarding against the miscarriage




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 of justice, assuring that proceedings are fair, discouraging perjury and decisions based on bias,

 and providing important context—are undermined when the public cannot tell who has invoked

 the power of the courts to resolve their disputes. Withholding litigants’ names denies the public

 access to critical information, limiting its ability to scrutinize the judicial process. Anonymity

 greatly hinders, for example, a journalist’s ability to research the litigant’s background, including

 business or political interests. Anonymity also prohibits journalists from identifying family

 members, friends, employers, coworkers, classmates and other acquaintances who may help the

 journalist put a given dispute in context. Knowing a litigant’s identity may help illuminate

 details like a plaintiff’s motivation for suing; his or her relationship with the defendants, other

 trial participants, or the court; or the litigant’s credibility, among other things.

         This is particularly true here, where Plaintiffs bring both facial and as-applied challenges

 to a state mandate. Especially given their as-applied claims, it is highly likely that judicial

 documents and hearings will include information pertaining to specific Plaintiffs. And, if

 Plaintiffs are permitted to continue this litigation pseudonymously, this Court will undoubtedly

 be asked to take additional restrictive steps to preserve their anonymity that would further inhibit

 the public’s presumptive right of access to judicial records and proceedings, including courtroom

 closures during Plaintiffs’ testimony and sealing of judicial records containing their personally

 identifiable information. The outcome of this case has significant implications for healthcare

 workers throughout Maine and, by extension, for patients and their loved ones. Open litigation,

 with full disclosure of the parties’ identities, including the role each plaintiff plays in the

 healthcare system, is thus vital to ensuring the public’s understanding and assessment of the

 parties’ competing claims, their credibility, and, ultimately, the administration of justice in this

 case.




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        In sum, permitting Plaintiffs to proceed pseudonymously will deny the public its

 presumptive common law and First Amendment rights to access judicial records and proceedings

 in this case—rights that the First Circuit has held may be overcome for “only the most

 compelling reasons.” Standard Fin. Mgmt. Corp., 830 F.2d at 410 (citation omitted).

        B.      Plaintiffs seeking pseudonymity bear the burden to demonstrate a substantial
                privacy right sufficient to overcome the strong presumption of openness.

        As this Court recognized in its order granting Media Intervenors’ motion to intervene,

 there is a “strong common law presumption” of access to judicial proceedings and records.

 Order at 2–3 (quoting Flanders v. Maine, No. 2:12-cv-00277, 2019 WL 2929500, at *2 (D. Me.

 July 8, 2019) (quoting In re Salem Suede, Inc., 268 F.3d 42, 45 (1st Cir. 2001))). And, in a case

 of first impression in the First Circuit, Judge Torresen recently recognized “a qualified First

 Amendment right of public access to civil complaints.” Courthouse News Serv. v. Glessner, No.

 1:21-CV-00040-NT, 2021 WL 3024286, at *15 (D. Me. July 16, 2021), appeal pending, Nos.

 21-1624, 21-1642. In so holding, she acknowledged the heavy weight of authority reflected in

 the decisions of the “many circuits that have concluded that the constitutional right of access

 applies to civil proceedings.” Id. at *11; see, e.g., N.Y.C.L. Union v. N.Y.C. Transit Auth., 684

 F.3d 286, 298 (2d Cir. 2012) (“[T]he First Amendment guarantees a qualified right of access not

 only to criminal but also to civil trials and to their related proceedings and records.”); Republic of

 Phil. v. Westinghouse Elec. Corp., 949 F.2d 653, 659 (3d Cir. 1991) (“[T]he First Amendment . .

 . protects the public’s right of access to the records of civil proceedings.”).

        Where, as here, the strong common law presumption of access applies, “it falls to the

 courts to weigh the presumptively paramount right of the public to know against the competing

 private interests at stake.” Standard Fin. Mgmt. Corp., 830 F.2d at 410. And, where, as here, the

 constitutional right of access also applies, it can be overcome only if “closure is essential to



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 preserve higher values and is narrowly tailored to serve that interest.” Press-Enterprise I, 464

 U.S. at 510 (citation omitted). “It is the burden of the party asking for secrecy to make a

 showing sufficient to overcome the presumption.” Doe v. Trs. of Dartmouth Coll., No. 18-CV-

 040-LM, 2018 WL 2048385, at *3 (D.N.H. May 2, 2018) (citing Nat’l Org. for Marriage v.

 McKee, 649 F.3d 34, 71 (1st Cir. 2011)); see also Dahl v. Bain Cap. Partners, LLC, 891 F. Supp.

 2d 221, 224 (D. Mass. 2012) (“The burden of persuasion rests with ‘those seeking to keep the

 datum hidden from view,’ not with the party seeking access.” (quoting Standard Fin. Mgmt.

 Corp., 830 F.2d at 411)). And, as the First Circuit has held, “only the most compelling reasons

 can justify” restricting access to judicial records and proceedings. Standard Fin. Mgmt. Corp.,

 830 F.2d at 410 (quoting In re Knoxville News-Sentinel Co., 723 F.2d 470, 476 (6th Cir. 1983)).

        In accordance with these principles, federal courts in the First Circuit and around the

 country have held that a plaintiff may proceed pseudonymously only in “exceptional cases”

 where the plaintiff has shown a “substantial privacy right which outweighs the ‘customary and

 constitutionally-embedded presumption of openness in judicial proceedings.’” Univ. of Rhode

 Island, 1993 WL 667341, at *2 (quoting Frank, 951 F.2d at 323–24; Stegall, 653 F.2d at 186);

 see also Doe v. Bell Atl. Bus. Sys. Servs., Inc., 162 F.R.D. 418, 420 (D. Mass. 1995); Doe v.

 Burkland, 808 A.2d 1090, 1096 (R.I. 2002). And although the First Circuit has not addressed

 what constitutes such a substantial privacy right, other federal courts of appeals have established

 non-exhaustive, multi-factor tests to aid district courts in identifying the “characteristics common

 to those exceptional cases in which the need for party anonymity overwhelms the presumption of

 disclosure mandated by procedural custom.” Stegall, 653 F.2d at 185.

        In the first such case, Doe v. Stegall, the Fifth Circuit identified four factors that courts

 may consider when assessing whether a plaintiff has met the heavy burden necessary to justify




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 proceeding anonymously. 653 F.2d at 185–86. These factors, which have also been applied by

 the Sixth and Eleventh Circuits, include (1) whether prosecution of the suit will compel the

 plaintiffs to disclose information “of the utmost intimacy”; (2) whether the plaintiffs are minors;

 (3) whether the litigation compels plaintiffs to disclose an intention to violate the law, thereby

 risking criminal prosecution; and (4) whether the plaintiffs seeking anonymity are suing to

 challenge governmental activity. Id. (citation omitted); see also Doe v. Porter, 370 F.3d 558,

 560 (6th Cir. 2004); Frank, 951 F.2d at 323.1 The Ninth Circuit has employed a similar five-

 factor test which considers: (1) “the severity of the threatened harm” to the party seeking

 anonymity; (2) “the reasonableness of the anonymous party’s fears”; (3) “the anonymous party’s

 vulnerability to such retaliation,” including the vulnerability of child plaintiffs; (4) “the precise

 prejudice at each stage of the proceedings to the opposing party, and whether proceedings may

 be structured so as to mitigate that prejudice”; and (5) “whether the public’s interest in the case

 would be best served by requiring that the litigants reveal their identities.” Advanced Textile,

 214 F.3d at 1068–69 (citations omitted). The Fourth Circuit and the D.C. Circuit follow a

 similar test to Advance Textile, but also consider the question of whether the action is against a

 governmental or private party. James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993); see also In

 re Sealed Case, 931 F.3d 92, 97 (D.C. Cir. 2019). Finally, the Second and Third Circuits have

 employed non-exhaustive ten-factor tests which incorporate elements of the Stegall, Advanced

 Textile, and Jacobson tests, along with factors such as “whether the plaintiff’s identity has thus

 far been kept confidential” and “whether there are any alternative mechanisms for protecting the


 1
    Although the Stegall factors contemplate that the fact that a plaintiff is challenging government activity may, in
 certain circumstances, factor in favor of anonymity, the Fifth Circuit expressly recognized that “in only a very few
 cases challenging governmental activity can anonymity be justified,” Stegall, 653 F.2d at 186, and this factor,
 standing alone, has been found insufficient to justify anonymity. See Roe v. Aware Woman Ctr. for Choice, Inc.,
 253 F.3d 678, 686 (11th Cir. 2001) (“Plaintiffs . . . bring challenges to government activity every court day, and no
 published opinion that we are aware of has ever permitted a plaintiff to proceed anonymously merely because the
 complaint challenged government activity.”).


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 confidentiality of the plaintiff.” Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 190 (2d Cir.

 2008); Doe v. Megless, 654 F.3d 404, 409 (3d Cir. 2011).

        Though these tests vary, federal courts of appeals are in accord that the factors they have

 identified are not designed to be applied “rigid[ly],” but are “highlighted merely as factors

 deserving consideration.” Frank, 951 F.2d at 323 (citation omitted). The “balancing test is

 necessarily flexible and fact driven,” In re Sealed Case, 971 F.3d 324, 326 (D.C. Cir. 2020), and

 courts should not “engage in a wooden exercise of ticking the . . . boxes,” In re Sealed Case, 931

 F.3d at 97; see also Stegall, 653 F.2d at 186 (“We advance no hard and fast formula for

 ascertaining whether a party may sue anonymously.”).

        In keeping with First Circuit precedent in “the related context of a request to seal judicial

 records,” district courts in the First Circuit have held that a party seeking to proceed

 anonymously must establish “a compelling countervailing interest to justify limiting . . . the

 presumptive right of access.” Reg’l Sch. Unit No. 21, 2020 WL 2833248, at *2 (citation

 omitted). Similar to the test employed by the Ninth Circuit, which balances the severity and

 reasonableness of the threatened harm to the party seeking to proceed anonymously against the

 public interest in requiring litigants to reveal their identities, Advanced Textile, 214 F.3d at

 1068–69, those courts have followed the “general rule” that the presumption of openness may be

 overcome only “by demonstrating an overriding reason for confidentiality,” which must then be

 balanced “against the public interest to be served by requiring disclosure.” Univ. of Rhode

 Island, 1993 WL 667341, at *2; Bell Atl. Bus. Sys. Servs., Inc., 162 F.R.D. at 420; see also Reg’l

 Sch. Unit No. 21, 2020 WL 2833248, at *2 (“[C]ourts should balance a plaintiff’s interest and

 fear against the public’s strong interest in an open litigation process.” (citation omitted)); Doe v.

 Univ. of Maine Sys., No. 19-CV-415 (NT), 2020 WL 981702, at *4 (D. Me. Feb. 20, 2020)




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 (same); Trs. of Dartmouth Coll., 2018 WL 5801532, at *5 (“The general presumption in favor of

 a public proceeding and the related public interest in open access to judicial proceedings weigh

 heavily against allowing Doe to proceed anonymously.”).2 The rare cases in which plaintiffs

 have been allowed to proceed pseudonymously typically “involve matters which are highly

 sensitive, such as social stigmatization, real danger of physical harm, or where the injury

 litigated against would occur as a result of the disclosure of the plaintiff’s identity.” Doe v.

 Standard Ins. Co., No. 15-CV-105 (GZS), 2015 WL 5778566, at *1 (D. Me. Oct. 2, 2015)

 (citation omitted). The potential for “embarrassment or economic harm is not enough.” Univ. of

 Rhode Island, 1993 WL 667341, at *2 (citation omitted).

          In sum, “the scales tilt decidedly toward transparency,” Nat’l Org. for Marriage, 649

 F.3d at 70, and it is “the exceptional case in which a plaintiff may proceed under a fictitious

 name,” Univ. of Rhode Island, 1993 WL 667341, at *2 (citation omitted); see also Plaintiff B v.

 Francis, 631 F.3d 1310, 1317 (11th Cir. 2011) (granting pseudonymity where the issues “could

 not be of a more sensitive and highly personal nature—they involve descriptions of the Plaintiffs

 in various stages of nudity and engaged in explicit sexual conduct while they were minors who

 were coerced by the Defendants into those activities”); Advanced Textile, 214 F.3d 1058

 (granting pseudonymity to foreign garment industry employees bringing Fair Labor Standards

 Act claims against their employers where plaintiffs demonstrated they would be subject to

 threats of deportation to China, followed by arrest and imprisonment, if their identifies were

 known).



 2
    District courts in the First Circuit have also looked to the balancing tests of other federal courts of appeals,
 particularly where the parties have urged them to. See, e.g., Reg’l Sch. Unit No. 21, 2020 WL 2833248, at *2
 (applying the multi-factor test articulated by the Third Circuit in Megless); Univ. of Maine Sys., 2020 WL 981702, at
 *4 (same); Trs. of Dartmouth Coll., 2018 WL 5801532, at *3 (proceeding “generally using the Second Circuit
 factors, which the plaintiff applied, with reference to the Third and Fourth Circuit factors when appropriate”); Univ.
 of Rhode Island, 1993 WL 667341, at *2 (applying the test articulated by the Eleventh Circuit in Frank).


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        This is not such an exceptional case. As detailed below, Plaintiffs have not established

 any privacy right sufficiently compelling or substantial to outweigh the “constitutionally-

 embedded presumption of openness” in this case. Univ. of Rhode Island, 1993 WL 667341, at

 *2 (citation omitted). As Plaintiffs cannot meet their burden to overcome the presumptive right

 of access, their continued use of pseudonyms in this matter cannot be justified.

 II.    Plaintiffs cannot overcome the “constitutionally-embedded presumption of openness”
        in this case.

        A.      Cases challenging COVID-related safety measures, including constitutional
                challenges to vaccine mandates, have routinely proceeded with named plaintiffs.

        In support of their argument that they should be permitted to litigate this consequential

 case pseudonymously, Plaintiffs assert that, due to the allegedly controversial nature of their

 claims, they are “fearful of public reaction to the disclosure of their identities” which they

 contend may “subject them to reprisal . . . and discourage others from bringing similar claims.”

 Pl. Mot. at 12. As a preliminary matter, debate over the scope of constitutional rights is often

 subject to controversy, and federal courts regularly handle such matters without permitting

 pseudonymous litigation. More importantly, however, Plaintiffs’ argument overlooks the

 hundreds of similarly situated litigants in Maine and around the country who have brought

 constitutional challenges to federal and state COVID-19 health and safety measures without the

 use of pseudonyms. See, e.g., Bayley’s Campground, Inc. v. Mills, 985 F.3d 153 (1st Cir. 2021)

 (named residents of Maine and New Hampshire, along with various campground businesses,

 challenging Maine’s self-quarantine requirement); Savage v. Mills, 478 F. Supp. 3d 16 (D. Me.

 2020) (challenging Maine’s shelter-in-place orders). Within the First Circuit alone, these cases

 include challenges to vaccine mandates and constitutional challenges on religious grounds to

 COVID-19 health and safety protocols. See Gray v. Mills, No. 21-CV-71 (LEW), 2021 WL

 5166157 (D. Me. Nov. 5, 2021) (challenging COVID-related restrictions on gathering size in


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 Maine, including for religious services); Together Emps. v. Mass Gen. Brigham Inc., No. 21-CV-

 11686 (FDS), 2021 WL 5234394 (D. Mass. Nov. 10, 2021) (eight named hospital employees and

 employee association challenging employer’s vaccine mandate); Mass. Corr. Officers Federated

 Union v. Baker, No. 21-CV-11599 (TSH), 2021 WL 4822154 (D. Mass. Oct. 15, 2021)

 (correction officers’ union and four named members of the union challenging vaccine mandate

 for prison employees); Harris v. Univ. of Massachusetts, Lowell, No. 21-CV-11244 (DJC), 2021

 WL 3848012 (D. Mass. Aug. 27, 2021) (challenging vaccine mandate for university students);

 Delaney v. Baker, 511 F. Supp. 3d 55 (D. Mass. 2021) (challenging COVID-related restrictions

 on gathering size, including for religious services); Beaudoin v. Baker, 530 F. Supp. 3d 169 (D.

 Mass. 2021) (challenging mask mandate); Rodriguez-Velez v. Pierluisi-Urrutia, No. 21-CV-1366

 (PAD), 2021 WL 5072017 (D.P.R. Nov. 1, 2021) (challenging vaccine mandate for government

 employees). And plaintiffs around the country have brought legal challenges under their own

 names to federal, state, and local government vaccine mandates, including healthcare workers

 challenging employer vaccine mandates.3 Plaintiffs have presented no evidence—nor is there


 3
   A non-exhaustive list of cases includes the following: Burcham v. City of Los Angeles, No. 21-CV-7296 (RGK)
 (JPR), 2022 WL 99863 (C.D. Cal. Jan. 7, 2022) (challenging city employee vaccine mandate); Brass v. Biden, No.
 21-CV-2778 (CMA) (MEH), 2021 WL 6498143 (D. Colo. Dec. 23, 2021) (challenging federal vaccine mandate);
 Halgren v. City of Naperville, No. 21-CV-5039 (JRB), 2021 WL 5998583 (N.D. Ill. Dec. 19, 2021) (challenging
 vaccine and testing mandate for healthcare workers); Rhoades v. Savannah River Nuclear Sols., LLC, No. 21-CV-
 3391 (JMC), 2021 WL 5761761 (D.S.C. Dec. 3, 2021) (challenging vaccine mandate for federal contractor’s
 employees); Creger v. United Launch All. LLC, No. 21-CV-1508 (AKK), 2021 WL 5579171 (N.D. Ala. Nov. 30,
 2021) (same); Rodden v. Fauci, No. 21-CV-317 (JVB), 2021 WL 5545234 (S.D. Tex. Nov. 27, 2021) (challenging
 federal employee vaccine mandate); Troogstad v. City of Chicago, No. 21-CV-5600 (JZL), 2021 WL 5505542 (N.D.
 Ill. Nov. 24, 2021) (challenging city employee vaccine mandate); Church v. Biden, No. 21-CV-2815 (CKK), 2021
 WL 5179215 (D.D.C. Nov. 8, 2021) (challenging federal employee and military personnel vaccine mandate); Smith
 v. Biden, No. 21-CV-19457 (CPO), 2021 WL 5195688 (D.N.J. Nov. 8, 2021) (challenging federal employee and
 contractor vaccine mandate); Andre-Rodney v. Hochul, No. 21-CV-1053 (BKS) (CFH), 2021 WL 5050067
 (N.D.N.Y. Nov. 1, 2021) (challenging hospital employee vaccine mandate); Bauer v. Summey, No. 21-CV-2952
 (DCN), 2021 WL 4900922 (D.S.C. Oct. 21, 2021) (challenging public employee vaccine mandate); Johnson v.
 Brown, No. 21-CV-1494 (SI), 2021 WL 4846060 (D. Or. Oct. 18, 2021) (challenging vaccine mandate for
 healthcare and education employees); Messina v. Coll. of New Jersey, No. 21-CV-17576 (ZNQ) (DEA), 2021 WL
 4786114 (D.N.J. Oct. 14, 2021) (challenging college vaccine mandate); Harsman v. Cincinnati Child.’s Hosp. Med.
 Ctr., No. 21-CV-597 (TSB), 2021 WL 4504245 (S.D. Ohio Sept. 30, 2021) (challenging hospital employee vaccine
 mandate); Beckerich v. St. Elizabeth Med. Ctr., No. 21-CV-105 (DLB) (EBA), 2021 WL 4398027 (E.D. Ky. Sept.



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 any indication—that these plaintiffs raising similar, and in some cases identical, claims have

 been subjected to any harm, let alone serious harm. Nor, given the substantial number of cases

 of this kind proceeding across the country, can Plaintiffs plausibly contend that an order from

 this Court requiring them to proceed under their own names would “discourage others from

 bringing similar claims.” Pl. Mot. at 12.

         Moreover, in the small number of cases where plaintiffs have moved for leave to proceed

 under pseudonyms to challenge government actions related to COVID-19, most courts have

 denied such motions, holding that plaintiffs’ interest in anonymity was insufficient to overcome

 the constitutionally rooted presumption of openness. See, e.g., Doe v. City Univ. of New York,

 No. 21-CV-9544 (NRB), 2021 WL 5644642, at *4 n.3 (S.D.N.Y. Dec. 1, 2021) (“The Court

 notes that numerous plaintiffs have brought suit challenging COVID-19 vaccination policies, on

 religious and other grounds, under their own names.”); see also Doe v. Trump, No. 20-CV-2531

 (SJC), 2020 WL 8258737, at *1 (N.D. Ill. July 1, 2020) (noting, in case challenging CARES Act

 payment rules, “that in the other lawsuits challenging [the statute], only the plaintiffs in [one

 case] are proceeding anonymously because they are minors,” and that “plaintiff has failed to give

 a sufficient explanation why the present lawsuit differs from the other two lawsuits where



 24, 2021) (same); Maniscalco v. N.Y.C. Dep’t of Educ., No. 21-CV-5055 (BMC), 2021 WL 4344267 (E.D.N.Y.
 Sept. 23, 2021), aff’d, No. 21-2343, 2021 WL 4814767 (2d Cir. Oct. 15, 2021) (challenging education employee
 vaccine mandate); Norris v. Stanley, No. 21-CV-756 (PLM), 2021 WL 4738827 (W.D. Mich. Oct. 8, 2021)
 (challenging university vaccine mandate); Kheriaty v. Regents of Univ. of California, No. 21-CV-1367 (JVS)
 (KESx), 2021 WL 4714664 (C.D. Cal. Sept. 29, 2021) (challenging university vaccine mandate); Streight v.
 Pritzker, No. 21-CV-50339 (IDJ), 2021 WL 4306146 (N.D. Ill. Sept. 22, 2021) (challenging university vaccine and
 testing mandate); Valdez v. Grisham, No. 21-CV-783 (MV) (JHR), 2021 WL 4145746 (D.N.M. Sept. 13, 2021)
 (challenging hospital vaccine mandate); Dahl v. Bd. of Trs. of W. Michigan Univ., No. 21-CV-757 (PLM), 2021 WL
 3891620 (W.D. Mich. Aug. 31, 2021) (challenging university vaccine mandate); Magliulo v. Edward Via Coll. of
 Osteopathic Med., No. 21-CV-2304 (TAD), 2021 WL 3679227 (W.D. La. Aug. 17, 2021) (challenging medical
 school vaccine mandate); Wade v. Univ. of Connecticut Bd. of Trs., No. 21-CV-924 (JAM), 2021 WL 3616035 (D.
 Conn. Aug. 16, 2021) (challenging university vaccine mandate); Am.’s Frontline Drs. v. Wilcox, No. 21-CV-1243
 (JGB) (KKx), 2021 WL 4546923 (C.D. Cal. July 30, 2021) (challenging university vaccine mandate); Klaassen v.
 Trs. of Indiana Univ., No. 21-CV-238 (DRL), 2021 WL 3073926 (N.D. Ind. July 18, 2021) (challenging university
 vaccine mandate).


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 plaintiffs are proceeding under their true names”); see also Section II.B, infra.

          In the small handful of cases where courts have granted a plaintiff’s motion to proceed

 under pseudonyms in COVID-related litigation, those motions were largely, as was the case

 initially here,4 unopposed, and were granted only for the early stages of the litigation. See, e.g.,

 Text Order, Dr. T. v. Alexander-Scott, No. 21-CV-387 (MSM) (LDA) (D.R.I. Jan. 7, 2022)

 (holding plaintiffs’ unopposed motion to proceed under a pseudonym was “provisionally

 GRANTED; however, the Court will reconsider this Motion upon any further proceeding in this

 matter”); Omori v. Brandeis Univ., 533 F. Supp. 3d 49, 56 (D. Mass. 2021) (holding, in case

 involving one named and one anonymous plaintiff challenging university tuition during the

 pandemic, that because “defendant does not currently oppose the request [for pseudonymity], his

 motion will be allowed subject to later challenge if this case should proceed to trial”); see also

 Doe v. New York Univ., 537 F. Supp. 3d 483, 496–97 (S.D.N.Y. 2021) (granting plaintiff’s

 motion to proceed anonymously without analyzing governing factors under applicable legal test);

 Dr. A. v. Hochul, No. 21-CV-1009, 2021 WL 4734404, at *11 n.11 (N.D.N.Y. Oct. 12, 2021),

 vacated and remanded on other grounds sub nom., We the Patriots USA, Inc. v. Hochul, No. 21-

 2179, 2021 WL 5103443 (2d Cir. Oct. 29, 2021) (same); Alma v. Noah’s Ark Processors, LLC,

 No. 20-CV-3141, 2020 WL 7246602, at *2 (D. Neb. Dec. 9, 2020) (granting motion to proceed

 under pseudonym for early stages of litigation, but reserving right to revisit the issue and

 expressing doubt as to whether plaintiffs “have established the type of extraordinary harm that

 typically supports a request to proceed anonymously”).

          When addressing contested motions to proceed pseudonymously, courts have held that a


 4
     As set forth above, when it initially granted Plaintiffs’ motion to proceed pseudonymously, this Court “reserve[d]
 the authority to revisit this issue should the case proceed past the preliminary-injunction stage,” noting “Defendants’
 failure to object to the Plaintiffs proceeding pseudonymously” and “the limited record available at this point.” Does
 1-6, 2021 WL 4005985, at *2.


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 plaintiff’s demonstration of serious, non-speculative physical or mental harm—not economic

 harm, or mere discomfort or embarrassment—is essential, including in the COVID-19 context.

 For example, courts have rejected arguments “centered upon [a plaintiff’s] economic well-being

 and possible embarrassment or humiliation” and a desire “not to attach his name to his admitted

 conduct” in breaking COVID protocols. Doe v. Trs. of Indiana Univ., No. 21-CV-2903 (JRS)

 (MJD), 2022 WL 36485, at *5–6 (S.D. Ind. Jan. 3, 2022); see also Order Denying Joint Motion

 to Proceed Anonymously at 4, Am.’s Frontline Drs. v. Wilcox, No. 21-CV-1243 (JGB) (KKx)

 (C.D. Cal. Jan. 7, 2022), ECF No. 53 (denying motion to proceed anonymously in case

 challenging university vaccine mandate, where plaintiffs’ claims of harm were “vague,

 conclusory, and do not hint at potential repercussion, retaliation, or intimidation,” adding that

 “[c]ommunity disagreement which results in ‘embarrassment . . . is not enough’ to support the

 use of pseudonyms” (quoting Doe v. Rostker, 89 F.R.D. 158, 161–62 (N.D. Cal. 1981))); Trump,

 2020 WL 8258737, at *1–2 (denying pseudonymity request in case where plaintiffs challenging

 CARES Act’s requirements asserted that they feared “humiliation, harassment, and taunting by

 neighbors and co-workers,” given the lack of “a particularized fear of retribution”).

        Here, Plaintiffs’ sole basis for their alleged fear of potential retaliation consists of an

 attorney declaration citing online statements from the Governor and a handful of public

 comments on a news article reporting on the instant litigation. See Declaration of Daniel J.

 Schmid in Support of Plaintiffs’ Motion to Proceed Using a Pseudonym ¶¶ 7–8, Does 1-6 v.

 Mills, No. 21-CV-242 (JDL) (D. Me. Aug. 31, 2021), ECF No. 21-1. But courts have found that

 generalized statements in the news “expressing a lack of patience or frustration at unvaccinated

 people do not support [a] claim that [plaintiffs] would be subject to extensive harassment and

 perhaps even violent reprisals, and do not suffice to justify anonymity.” City Univ. of New York,




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 2021 WL 5644642, at *3 (internal quotation marks and citation omitted). And, similarly, courts

 reviewing criticism on social media have acknowledged “that social media threads are governed

 by mob rule and can bring out the worst in those participating,” but have found that “such

 unpleasantness, without threats indicating that [plaintiff] is at risk of actual harm in real life, does

 not rise to the level of severity that justifies maintaining anonymity while prosecuting a federal

 lawsuit.” Doe v. Vanderbilt Univ., No. 20-CV-356 (JSF), 2021 WL 6496833, at *2 (M.D. Tenn.

 Mar. 11, 2021); see also id. (finding plaintiff’s argument that Facebook comments showed he

 would face academic and career retaliation for seeking tuition refund during pandemic

 “speculative and unsupported”). Here, in quoting online statements from the Governor and

 unnamed commenters on a news article, Plaintiffs rely on the same expressions of opinion and

 “unpleasantness” properly rejected as insufficient by other courts, without showing any “risk of

 actual harm in real life.” See Vanderbilt Univ., 2021 WL 6496833, at *2 (finding plaintiff’s

 “Declaration of such fears alone is insufficient”).

          Simply put, the Plaintiffs’ vague fears of “retribution, reprisal, and ostracization,” Pl.

 Mot. at 12, fall far short of constituting a “substantial privacy right” sufficient to outweigh “the

 customary and constitutionally-embedded presumption of openness in judicial proceedings,”

 Univ. of Rhode Island, 1993 WL 667341, at *2 (internal quotation marks and citations omitted).

 These Plaintiffs are no different from the hundreds of other plaintiffs who have challenged—and

 continue to challenge—COVID-related protocols and vaccine mandates under their own names

 in courts in Maine and elsewhere, and they should not be permitted to continue to proceed

 pseudonymously in this case.5


 5
   Pseudonymity is unquestionably inappropriate where a plaintiff’s identity has already been publicly disclosed.
 See, e.g., City Univ. of New York, 2021 WL 5644642, at *5; Reg’l Sch. Unit No. 21, 2020 WL 2833248, at *2
 (quoting Megless, 654 F.3d at 409). Here, “it is not clear whether or to what extent plaintiff’s refusal to receive a



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         B.       The religious and medical issues asserted by Plaintiffs are insufficient to
                  constitute a “substantial privacy interest.”

         Plaintiffs assert that they should be “permitted to proceed using pseudonyms because the

 issues involved in this matter relate to sensitive and private medical decisions,” Pl. Mot. at 4, and

 to their “sincerely held religious beliefs against the COVID-19 vaccines,” id. at 8. While, in

 certain cases, a plaintiff’s religious beliefs or highly sensitive medical condition may constitute a

 substantial privacy right, see, e.g., Stegall, 653 F.2d at 186; Standard Ins. Co., 2015 WL

 5778566, at *2, this is not such a case. As other courts have held in similar COVID-related

 litigation, opposition to receiving the COVID-19 vaccine (based on religious beliefs or not) is

 insufficient to overcome the presumption against pseudonymous litigation. For example, where,

 as “here, there is no independent medical issue separate and apart from plaintiff’s refusal to

 receive a COVID-19 vaccine on religious grounds,” the mere fact “that a case involves a medical

 issue is not a sufficient reason for allowing the use of a fictitious name.” City Univ. of New York,

 2021 WL 5644642, at *2 (quoting Doe v. N.Y. State Dep’t of Health, No. 20-CV-4817 (GHW),

 2020 WL 5578308, at *3 (S.D.N.Y. Sept. 17, 2020)) (rejecting a plaintiff’s motion to proceed

 pseudonymously when challenging his university’s vaccine mandate). Moreover, “[a]s a general

 matter, vaccination status is not inherently confidential: mandatory vaccination and the

 disclosure thereof is well established.” Id. at *5; cf., e.g., Me. Rev. Stat. Ann. tit. 20-A § 6355

 (requiring children to submit “a certificate of immunization” to attend school). Here, too, the

 only medical information that Plaintiffs would be required to reveal is their status as

 unvaccinated—a status held and disclosed by millions of Americans. Plaintiffs’ assertion that


 coronavirus vaccine is public knowledge.” City Univ. of New York, 2021 WL 5644642, at *5. However,
 particularly given the large number of plaintiffs in this case, the notion that none have publicly stated their
 opposition to COVID-19 vaccine mandates or publicly revealed their religious affiliations or beliefs in any forum
 outside this litigation strains credulity. Without access to Plaintiffs’ names, Media Intervenors have no way of
 knowing whether, for example, despite seeking to proceed pseudonymously in this case, there are Plaintiffs who
 have elected to make their opposition to COVID-19 vaccines public.


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 this matter relates to their “sensitive and private medical decisions,” Pl. Mot. at 4, is without

 merit, and is insufficient to overcome the strong presumption of public access to proceedings and

 records in this case.

         Plaintiffs’ reliance on their religious beliefs is similarly unavailing. In another case

 involving a plaintiff’s asserted Christianity-based objections to a COVID-19 vaccine mandate,

 the court “f[ou]nd[] it difficult to believe that plaintiff will suffer substantial prejudice in

 disclosing that he is Christian in a country where the majority of the population also identifies as

 Christian.” City Univ. of New York, 2021 WL 5644642, at *3. The district court contrasted this

 situation with those in which plaintiffs “made revelations about [their] personal beliefs and

 practices that are shown to have invited an opprobrium analogous to the infamy associated with

 criminal behavior.” Id. (quoting Stegall, 653 F.2d at 186). Likewise here, Plaintiffs have not

 claimed membership in any particular religious group, but describe their belief in being guided

 by the Bible, the Holy Spirit, and prayer—which they say has led them to oppose abortion and

 the available COVID-19 vaccines. See Complaint ¶¶ 68–74, Does 1-6 v. Mills, No. 21-CV-242

 (JDL) (D. Me. Aug. 25, 2021), ECF No. 1. These religious beliefs, at least some of which are

 directly associated with Christianity, are shared by many throughout the country. See, e.g.,

 Joanne Silberner, Pushback to Covid-19 Vaccines Remains Stubbornly High Among White

 Evangelicals, Stat News (Jan. 7, 2022), https://perma.cc/GU5C-P3W3; Andrew Jeong &

 Timothy Bella, Catholic Troops Should Be Able to Reject Vaccine if It Violates Their

 Conscience, Archbishop Says, Wash. Post (Oct. 13, 2021), https://perma.cc/CZW3-DCEQ.6 A




 6
    Notably, polls have shown broad opposition to vaccine mandates, and majority support for including religious
 exemptions in vaccine mandates. See, e.g., Tell Us: Do You Support Vaccine Mandates?, Central Maine (Jan. 12,
 2022), https://perma.cc/KE3X-BRKS (showing 57% oppose vaccine mandates); Marisa Iati, Most Americans
 Support Religious Exemptions to Vaccination But Say They’re Overused, Survey Finds, Wash. Post (Dec. 10, 2021),
 https://perma.cc/6DYE-QUEF (showing 51% support religious exemptions to vaccine mandates).


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 mere desire to avoid disclosing these beliefs in the context of this litigation cannot satisfy

 Plaintiffs’ burden to justify restricting public access to their identities.

         C.      Plaintiffs’ claimed privacy interests cannot outweigh the substantial public
                 interest in this case.

         Plaintiffs argue that “the public has an atypically weak interest in the identity of the

 Plaintiffs” in this case “[b]ecause of the purely legal questions at issue in th[e] litigation.” Pl.

 Mot. at 8. Plaintiffs are wrong. As a preliminary matter, this argument ignores the fact that

 Plaintiffs have brought as-applied as well as facial challenges, which will necessarily put at issue

 factual information about the Plaintiffs. Moreover, as courts have recognized in denying

 motions to proceed under pseudonyms in similar cases, public interest in COVID-related matters

 is significant, and litigation concerning requested religious exemptions to vaccine mandates puts

 case-specific factual questions in issue—not purely legal ones. See Trs. of Indiana Univ., 2022

 WL 36485, at *7–8; City Univ. of New York, 2021 WL 5644642, at *3, *5; Vanderbilt Univ.,

 2021 WL 6496833, at *2; Trump, 2020 WL 8258737, at *2. Indeed, Media Intervenors have

 sought to intervene to challenge Plaintiffs’ continued use of pseudonyms precisely because this

 matter presents issues of concern to their readers broadly. See, e.g., Megan Gray, Maine

 Newspapers Can Challenge Anonymity of Plaintiffs in Vaccine Mandate Lawsuit, Judge Says,

 Portland Press Herald (Dec. 30, 2021), https://perma.cc/696P-MQGX; Joe Lawlor, Hundreds of

 Maine Health Care Workers Leave Jobs Over Vaccine Mandate, But Most Stay, Portland Press

 Herald (Nov. 1, 2021), https://perma.cc/2EMN-4XXB; Emily Bader, Central Maine Healthcare

 Losing Staff Over Vaccine Mandate, Sun Journal (Oct. 1, 2021), https://perma.cc/PMH4-FN3V.

         Moreover, even assuming, arguendo, that the outcome of this case does not turn on the

 particular identity of any litigant, the names of the parties are nevertheless central to the public’s

 broader understanding of the case, the law, and the functioning of the judiciary. Indeed, the



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 implications of the present litigation highlight precisely why full public access to proceedings,

 including the names of the parties, is necessary. Plaintiffs filed this lawsuit in an attempt to

 invalidate a statewide public health mandate aimed at addressing an issue at the forefront of the

 national consciousness on the grounds that it is unconstitutional; citizens of Maine, as well as the

 media covering this litigation and the larger social and political issues it implicates, should be

 able to observe all aspects of how the litigants and the court handle this case.

        As Justice Scalia observed inDoe v. Reed, where the Supreme Court held that referendum

 signatories’ First Amendment rights were not violated by the disclosure of their names, public

 scrutiny of those who participate in the democratic process is essential. See Doe No. 1 v.

 Reed, 561 U.S. 186, 228 (2010) (Scalia, J., concurring). In response to the signatories’ stated

 concerns that disclosure of their names could lead to harsh criticism from political opponents,

 Justice Scalia explained: “There are laws against threats and intimidation; and harsh criticism,

 short of unlawful action, is a price our people have traditionally been willing to pay for self-

 governance. Requiring people to stand up in public for their political acts fosters civic courage,

 without which democracy is doomed.” Id.

                                           CONCLUSION
        Plaintiffs cannot meet their burden to demonstrate compelling, countervailing interests

 sufficient to overcome the common law and constitutional presumptions of public access in this

 case of utmost public concern. They, like hundreds of others challenging COVID-related

 measures around the country, must “step into the light and sue in the open, or not at all.” Trs. of

 Indiana Univ., 2022 WL 36485, at *8 (quoting In re Boeing 737 MAX Pilots Litig., No. 19-CV-

 5008 (SCS), 2020 WL 247404, at *4 (N.D. Ill. Jan. 16, 2020)). For the foregoing reasons, Media

 Intervenors respectfully move this Court for an order unsealing Plaintiffs’ names and prohibiting

 Plaintiffs from continuing to proceed under pseudonyms in this matter.


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 DATED at Portland, Maine this 27th day of January, 2022.


        Respectfully submitted,

                                                  /s/ Sigmund D. Schutz
                                                  Sigmund D. Schutz
                                                  Jonathan G. Mermin
                                                  Preti Flaherty Beliveau & Pachios LLP
                                                  P.O. Box 9546, One City Center
                                                  Portland, ME 04112
                                                  (207) 791-3000
                                                  SSchutz@preti.com
                                                  JMermin@preti.com

                                                  Katie Townsend (pro hac vice)
                                                  Shannon Jankowski (pro hac vice)
                                                  Reporters Committee for
                                                  Freedom of the Press
                                                  1156 15th St. NW, Suite 1020
                                                  Washington, D.C. 20005
                                                  (202) 795-9300
                                                  ktownsend@rcfp.org
                                                  sjankowski@rcfp.org

                                                  Counsel for Media Intervenors




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